Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 1 of 24 PageID: 496




                                          By Stephen Bond at 4:59 pm, Mar 04, 2021
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 2 of 24 PageID: 497
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 3 of 24 PageID: 498
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 4 of 24 PageID: 499
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 5 of 24 PageID: 500
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 6 of 24 PageID: 501
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 7 of 24 PageID: 502
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 8 of 24 PageID: 503
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 9 of 24 PageID: 504
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 10 of 24 PageID: 505
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 11 of 24 PageID: 506
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 12 of 24 PageID: 507
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 13 of 24 PageID: 508
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 14 of 24 PageID: 509
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 15 of 24 PageID: 510
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 16 of 24 PageID: 511
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 17 of 24 PageID: 512
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 18 of 24 PageID: 513
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 19 of 24 PageID: 514
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 20 of 24 PageID: 515
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 21 of 24 PageID: 516
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 22 of 24 PageID: 517
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 23 of 24 PageID: 518
Case 2:20-cr-00185-BRM Document 309 Filed 03/04/21 Page 24 of 24 PageID: 519
